         Case 1:21-cv-00533-CM Document 164 Filed 07/19/23 Page 1 of 2




                                                                                  8443.01


                                                                                 212-277-5825
VIA ECF
                                                       July 19, 2023
Hon. Colleen McMahon
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Sow et al. v. City Of New York et al.
               Index No. 21-cv-00533 (CM)(GWG)

               In re: New York City Policing During Summer 2020 Demonstrations,
               Index No. 20-cv-8924 (CM) (GWG)

Your Honor:

       We are counsel to the Sow Plaintiffs. We write with the City of New York to request that
the proposed notices and claim form be submitted to the Court one week from today. The parties
have the class action settlement stipulation and an unopposed motion for preliminary approval
and class certification which will be filed later today.

        The basis for the application is that there have been complications in dealing with the
notices, especially the formatting and what should be included on the short form notices for
publication. Additionally, the class administrator is making last-minute adjustments to the claims
process and which would also affect what would be in the notice, so the completed notices would
not be able to happen today. This is the first time this specific relief has been requested.

       We thank the Court for its consideration of this matter.

Respectfully submitted,

BELDOCK LEVINE & HOFFMAN LLP                             GIDEON ORION OLIVER
         Case 1:21-cv-00533-CM Document 164 Filed 07/19/23 Page 2 of 2


Hon. Colleen McMahon
March 23, 2023
Page 2



By:                                         __________________________
       Jonathan C. Moore                    277 Broadway, Suite 1501
       David B. Rankin                      New York, NY 10007
       Luna Droubi                          t: 718-783-3682
       Marc Arena                           f: 646-349-2914
       Deema Azizi                          Gideon@GideonLaw.com
       Rebecca Pattiz
       Katherine “Q” Adams
       Regina Powers                        COHEN&GREEN P.L.L.C.

99 Park Avenue, PH/26th Floor
New York, New York 10016
     t: 212-490-0400                        By:
     f: 212-277-5880                        Elena L. Cohen
     e: jmoore@blhny.com                    J. Remy Green
         drankin@blhny.com                  Jessica Massimi
        ldroubi@blhny.com
        marena@blhny.com                    1639 Centre Street, Suite 216
        dazizi@blhny.com                    Ridgewood (Queens), NY 11385
        rpattiz@blhny.com                       t: (929) 888-9480
        qadams@blhny.com                        f: (929) 888-9457
         rpowers@blhny.com                      e: elena@femmelaw.com
                                                    remy@femmelaw.com
                                                    jessica@femmelaw.com

WYLIE STECKLOW PLLC                         LORD LAW GROUP PLLC



__________________________
By: Wylie Stecklow                          ________________________________
Wylie Stecklow PLLC                         Masai I. Lord
231 West 96th Street                        14 Wall St., Ste 1603
Professional Suites 2B3                     New York, NY 10005
NYC NY 10025                                P: 718-701-1002
t: 212 566 8000                             E: lord@nycivilrights.nyc
Ecf@wylielaw.com


cc:    All Counsel (by ECF)
